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          IN THE UNITED STATES DISTRICT COURT FOR THE

                           DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,     )
                              )
                Plaintiff,    )                 8:08CR194
                              )
          v.                  )
                              )
PERCY E. GRANT,               )                       ORDER
                              )
                Defendant.    )
______________________________)


          This matter is before the Court on defendant’s motion

to continue plea (Filing No. 32).        The Court finds said motion

should be granted.      Accordingly,

          IT IS ORDERED that the Rule 11 hearing is rescheduled

for:

               Tuesday, August 25, 2008, at 10:30 a.m.

Courtroom No. 5, Roman L. Hruska United States Courthouse, 111

South 18th Plaza, Omaha, Nebraska.        The parties will have time to

complete plea negotiations, and the ends of justice will be

served by continuing this case and outweigh the interests of the

public and the defendant in a speedy trial.             The additional time

between August 12, 2008, and August 25, 2008, shall be deemed

excludable time in any computation of time under the requirement

of the Speedy Trial Act.      18 U.S.C. § 3161(h)(8)(A) & (B).

          DATED this 11th day of August, 2008.

                                    BY THE COURT:

                                    /s/ Lyle E. Strom
                                    ______________________________
                                     LYLE E. STROM, Senior Judge
                                     United States District Court
